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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK

ee x
UNITED STATES OF AMERICA
——V — : 53 19-Cr. 254 (ALC)
REGINALD FOWLER,
DEFENDANT.
x

DECLARATION OF PERRY ROGERS
My name is Perry Rogers. I am a citizen of the United States and I reside in Nevada.

I am the founder and CEO of PR Partners, Inc., which represents and manages certain business
interests of Shaquille O’Neal.

In April and May of 2018, I first discussed with Charlie Ebersol that Eberso] Sports Media
Group, Inc. (“ESMG”) a potential opportunity for Mr. O’Neal to make an investment in the newly
formed Alliance of American Football league. We had several questions concerning the
investment and documentation. While documentation was being reviewed and considered over
the next couple of months, I learned that ESMG was simultaneously putting together its first main
funding round that would be led by an investor who had committed equity and line of credit
financing of more than $150 million. ESMG’s commitment for this level of funding mattered in
the ultimate decision to go forward with the investment.

On August 31, 2018, the Shaquille O’Neal Revocable Trust Agreement Dated January27, 1995
as Amended and Restated on March 10, 2016, Lester J. Knispel and Shaquille R. O’Neal, Trustees
(the “Trust”) purchased a $125,000 promissory note, which we understood the Trust would have
an opportunity to convert to equity shares on the closing of the Series 1 funding round.

When the Series 1 round closed in November 2018, the Trust agreed to accept preferred and
common stock shares in full satisfaction of the debt evidenced by the convertible note. Reggie
Fowler’s $170 million funding commitment materially informed the Trust’s agreement. Had the
Trust known that Fowler’s lead investment was not real or could not be delivered or suspected that
Fowler was not truthful in his dealings with the AAF, the Trust would not have purchased a note
at that time or consented to its conversion.

I declare state under penalty of perjury that the
Signed on March 22 h 0993,

egoing is true and correct.

